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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERCIA,

Plaintiff,

v.

RECARDO BONNER,                                           No. 07-30136-DRH

Defendant.

                                      ORDER

HERNDON, Chief Judge:

      On October 3, 2008, the Court issued an Order continuing the trial scheduled

for November 10, 2008 until December 8, 2008 (Doc. 174). Defendant Bonner was

inadvertently left off of the previous Order. The Court hereby adopts the previous

Order (Doc. 174) as to Defendant Bonner.

      In the previous Order, the Court found that the trial should be postponed

because Defendant Everitt had been granted extended time in which to review

discovery and file pretrial motions. In addition, the Court found that pursuant to 18

U.S.C. § 3161(h)(8)(A), the ends of justice served by the granting of such a

continuance outweighed the interests of the public and Defendant Everitt in a speedy

trial. The Court granted Defendant Everitt’s motion to continue trial (Doc. 170) and

CONTINUED the jury trial as to all Defendants scheduled for November 10, 2008

until December 8, 2008 at 9:00am. The time from the date Defendant’s motion

was filed, September 24, 2008 until the date on which the trial was rescheduled,

December 8, 2008, was excludable time for the purposes of a speedy trial.
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      Although Defendant Bonner was inadvertently left off of the previous Order

continuing the trial as to all Defendants (Doc. 174), his scheduled trial will also be

CONTINUED from November 10, 2008 until December 8, 2008 at 9:00a.m. The

time from the date Defendant’s motion was filed, September 24, 2008 until the date

on which the trial is rescheduled, December 8, 2008, is also exclubable time as to

Defendant Bonner for the purposes of a speedy trial.

             IT IS SO ORDERED.

             Signed this 3rd day of November, 2008.

                                             /s/      DavidRHer|do|
                                              Chief Judge
                                              United States District Court




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